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IN 'I`I-IE UNI'I`ED STATES DISTRIC'I` COURT
FOR THE NORTHERN DISTRICT ()F TEXAS

DALLAS DIVISION
HELEN JUNE WHITE, §
Plaintiff, §
§
v. § No. 3:18-cv-02834~S (BT)
§
§
BARACK HUSSEIN OBAMA, et al., §
Defendants. §

ORDER
The United States Magistrate Judge made findings, conclusions and a
recommendation in this case. No objections Were Hled. The Distrlct Court
reviewed the proposed findings conclusions and recommendation for plain error.
Finding none, the Court ACCEPTS the Finding,s, Conclusions and

Recornrnendation of the Unlted States Magistrate Judge.

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KA’REN GREN sCHoLER
UNITED sTATEs DISTRICT JUDGE

 

 

